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                     EXHIBIT 7
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  From: Anna Massey Anna@caititle.com
Subject: FW: Important Information re: MMTLP
   Date: February 12, 2024 at 12:32 PM
     To: Joe Rose joe@thebasilelawfirm.com




     From: Anna Massey <annamassey17@gmail.com>
     Sent: Tuesday, February 6, 2024 9:06 AM
     To: Anna Massey <Anna@caititle.com>
     Subject: Fwd: Important Information re: MMTLP

     [EXTERNAL]


     ---------- Forwarded message ---------
     From: Anna Massey <annamassey17@gmail.com>
     Date: Wed, Dec 28, 2022 at 3:17 PM
     Subject: Re: Important Information re: MMTLP
     To: TradeStation Group, Inc. <reply-febf107273610375-263_HTML-337297062-514006600-2@e.tradestation.com>


     Attention: Trade Station:
     Please keep my shares of Next Bridge Hydrocarbons, Inc., in my Trade Station, account titled, Inter-Coastal
     Waterways, LLC.
     Thank you,
     Anna Gjekaj

     On Tue, Dec 13, 2022 at 5:30 PM TradeStation Securities <noreply@e.tradestation.com> wrote:
       Open to learn more.




                                                            Click here if you are having trouble viewing this email.




                                                        1•TradeStation®


                             Dear Client,

                             Meta Materials, Inc. recently announced a corporate action pursuant to which holders of their
                             preferred shares (Symbol: MMTLP, CUSIP: 59134N203) will receive shares of Next Bridge
                             Hydrocarbons, Inc. (“Next Bridge”) at a 1-for-1 ratio.


                             As a holder of MMTLP on the record date, you are eligible to receive the shares of Next Bridge.
                             Next Bridge, however, will not be listed on any national exchange and will only be possible to
                             transact via a private placement. TradeStation can hold your Next Bridge shares as custodian, but
                             you will not be able to transact in the Next Bridge shares in your TradeStation account. Unless we
                             hear from you to the contrary by the close of business on December 29, 2022, TradeStation will
                             send your Next Bridge shares to American Stock Transfer & Trust Company (“AST”). Beginning
                             January 3rd, 2023, if you want more information regarding your Next Bridge shares, please contact
                             AST at (800) 937-5449 or (718) 921-8124.
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         AST at (800) 937-5449 or (718) 921-8124.

         Please contact TradeStation Client Services with any additional questions.




       IMPORTANT INFORMATION


       Securities and futures trading is offered to self-directed customers by TradeStation Securities, Inc., a broker-dealer registered with the Securities and
       Exchange Commission (“SEC”) and a futures commission merchant licensed with the Commodity Futures Trading Commission (“CFTC”). TradeStation
       Securities is a member of the Financial Industry Regulatory Authority, the National Futures Association (“NFA”), and a number of exchanges.
       TradeStation Crypto, Inc. offers to self-directed investors and traders cryptocurrency brokerage services under federal and state money services
       business/money-transmitter and similar registrations and licenses.


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       traders cryptocurrency brokerage services. It is neither licensed with the SEC or the CFTC nor is it a member of NFA. When applying for, or purchasing,
       accounts, subscriptions, products, and services, it is important that you know which company you will be dealing with. Click here for further important
       information explaining what this means.


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       This email was sent by: TradeStation
       8050 SW 10th St Plantation, FL, 33324-3290, US
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We understand that some TradeStation customers may
seek to participate in the non-transferable subscription
rights offering for shares of common stock in the future
subsidiary of Next Bridge Hydrocarbons, Inc. ("NBH").
Such participation requires NBH holders to register and
record ownership of their NBH shares in book entry
form with the transfer agent, the American Stock
Transfer & Trust Company ("AST"). Registration must
be completed within sixty (60) days (the "record date")
from the effective date of a Form S-1 Registration
Statement that NBH filed with the SECon July 26,
2023. NBH will issue a press release notifying
shareholders of the record date once the Registration
Statement is declared effective by the SEC.
TradeStation will be transmitting its requested list of
clients' shares to AST,but will not be able to send any
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             ,s.h,ares
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Upon the initial distribution of NBH common stock,
broker-dealers, like TradeStation, were granted physical
certificates based on their customers' former holdings
of Meta Materials ("MMTLP"). The NBH certificate that
TradeStation received excluded a large number of NBH
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part of TradeStation's Fully Paid Lending program.
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unable to recall a portion of the lent-out shares because
there is currently no market for the security. This
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customers' requests to register and record their
ownership in book entry form with AST because the
shares are not backed by a physical certificate. If the
Registration Statement is declared effective by the SEC,
TradeStation will fulfill its obligation to transfer the
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the meanti1me,we must decline your request to transfer
a physical certificate reflecting your ownership interest
t:0 AST.
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